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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                 4:03-CR-00283-03-BRW

BILLY DON HARRIS

                                            ORDER

       Pending is pro se Defendant’s unopposed Motion for Early Termination of Supervised

Release (Doc. No. 200). Defendant has served more than one year of his supervised release. I

am satisfied that early termination is warranted by the conduct of Defendant and the interest of

justice. Accordingly, the Motion is GRANTED.

       IT IS SO ORDERED this 5th day of December, 2014.


                                             /s/ Billy Roy Wilson
                                             UNITED STATES DISTRICT JUDGE
